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 1                                                                  The Honorable Tana Lin

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 7                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF WASHINGTON
 8

 9   SUSAN FITZL and SAMANTHA HORTON,
     on behalf of themselves and a class of all    No. 2:22-cv-00544-TL
10   others similarly situated,
                                                   DEFENDANT AMAZON.COM, INC.’S
11                                   Plaintiffs,   MOTION TO DISMISS PLAINTIFFS’
                                                   COMPLAINT
12         v.
                                                   NOTE ON MOTION CALENDAR:
13   AMAZON.COM, INC.,                             SEPTEMBER 30, 2022

14                                  Defendant.     ORAL ARGUMENT REQUESTED

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     MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                                                                                K&L GATES LLP
     CASE NUMBER 2:22-CV-00544-TL                                              925 FOURTH AVENUE
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 1          Defendant Amazon.com, Inc. (“Amazon”) moves to dismiss Plaintiffs’ Complaint with

 2   prejudice pursuant to Fed. R. Civ. P. 8(a), 9(b), and 12(b)(6).

 3                                I.      PRELIMINARY STATEMENT
 4          Plaintiffs’ Complaint challenges the labeling of certain over-the-counter (“OTC”) cold and

 5   flu medicines containing dextromethorphan hydrobromide (“DXM”), a cough suppressant known

 6   as an antitussive. Plaintiffs allege that they purchased OTC medications containing DXM from

 7   Amazon for severe cold and flu symptoms, “took the medicine as directed,” and “became

 8   unexpectedly drowsy.” Compl. (Dkt. #1) ¶¶ 8, 9. Plaintiffs fail to state a claim for relief for several

 9   independent reasons.

10          First, federal law preempts Plaintiffs’ claims. The federal Food and Drug Administration

11   (“FDA”) strictly regulates the labeling of OTC medicines through a “monograph” process. Over

12   the course of 15 years, the FDA reviewed the efficacy and safety of antitussives, including DXM,

13   and found “no data demonstrating that the antitussive ingredient[] … [DXM] … requires a

14   drowsiness warning.” 48 Fed. Reg. 48,576, 48,589 (Oct. 19, 1983). Accordingly, the FDA’s final

15   regulation concerning the labeling parameters for OTC medicines does not require products with

16   DXM to display a drowsiness warning or disclose drowsiness as a side effect. Nor does it prohibit

17   labeling OTC products containing DXM as non-drowsy or for daytime use. See 21 C.F.R. § 341.74

18   (titled “Labeling of antitussive drug products”). To protect the integrity of this regulatory

19   framework, the federal Food, Drug, and Cosmetic Act (“FDCA”) preempts (i.e., prohibits) any

20   state law claims that purport to impose requirements “different from,” “in addition to,” or

21   “otherwise not identical with” the FDA’s final labeling requirements for OTC medicines. 21

22   U.S.C. § 379r(a). Specifically, “§ 379r(a) preempts state law claims [1] that require additional

23   information or labeling or [2] that prohibit labeling beyond what is expressly stated in the

24   applicable federal requirements.” McFall v. Perrigo Co., No. 2:20-cv-07752-FLA, 2021 WL

25   2327936, at *8 (C.D. Cal. April 15, 2021) (citing cases).

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 1          Nonetheless, Plaintiffs assert six state law claims that directly challenge the labeling of

 2   DXM-containing OTC medicines, alleging that the terms “non-drowsy” or “daytime” are false and

 3   misleading. See Compl. ¶¶ 31–34. Plaintiffs contend that Amazon should have instead disclosed

 4   drowsiness as a side effect, omitted the “non-drowsy” description, or changed the label to “less

 5   drowsy.” Id. ¶¶ 31–36. Plaintiffs ignore, however, that “[w]ith respect to the labeling of OTC

 6   drugs, the whole point of section 397r is that it is not up to private litigants—or judges—to decide

 7   what is ‘false or misleading.’ It is up to the FDA.” Bowling v. Johnson & Johnson, 65 F. Supp.

 8   3d 371, 377 (S.D.N.Y. 2014). And “[b]ecause the FDA alone can balance the potentially

 9   competing concerns of safety and effectiveness, common law and state law liability that is also

10   premised on a product’s safety and effectiveness can only upset that balance.” Carter v. Novartis

11   Consumer Health, Inc., 582 F. Supp. 2d 1271, 1281 (C.D. Cal. 2008). Section 379r therefore

12   squarely preempts all of Plaintiffs’ claims because, “[i]f successful, this litigation would do exactly

13   what Congress, in passing section 379r of the FDCA, sought to forbid: using state law causes of

14   action to bootstrap labeling requirements that are ‘not identical with’ federal regulation.” Bowling,

15   65 F. Supp. 3d at 376.

16          Second, the Complaint’s conclusory allegations that DXM may cause drowsiness and that

17   the challenged medicines caused Plaintiffs to feel “unexpectedly drowsy” do not state plausible

18   claims for relief. Plaintiffs allege that they purchased and took the medicines targeting “severe”

19   cold and flu symptoms. But they do not plead facts to establish that the medications caused their

20   alleged drowsiness. For good reason: cold and flu viruses, among many other things, cause fatigue.

21   “[W]ithout some further factual enhancement,” the Complaint’s speculation that the medicines

22   caused Plaintiffs’ drowsiness “stops short of the line between possibility and plausibility of

23   entitlement to relief.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 557 (2007).

24          Third, Plaintiffs’ independent claims each suffer from additional deficiencies that warrant

25   dismissal, including that: (1) Plaintiffs’ statutory claims under Wisconsin and Ohio state law

26   (Counts II and III) fail because Washington law governs all disputes between Plaintiffs and
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 1   Amazon; (2) Plaintiffs’ breach of express warranty claim (Count I) is barred by an explicit

 2   disclaimer of all warranties and Plaintiffs’ failure to provide timely notice of their claim;

 3   (3) Plaintiffs’ unjust enrichment claim (Count IV) and other requests for equitable relief fail

 4   because Plaintiffs have an adequate remedy at law for their alleged economic injuries; and

 5   (4) Plaintiffs’ negligent and intentional misrepresentation claims (Counts V and VI) fall short of

 6   both the Rule 8(a) pleading standard and the Rule 9(b) particularity requirement.

 7          For each of the above reasons, as detailed below, the Court should dismiss Plaintiffs’

 8   claims with prejudice.

 9                                       II.     BACKGROUND
10          A.      Federal Regulation of Over-the-Counter Drugs
11          The FDA regulates most OTC medications through a monograph process. A monograph

12   is a set of regulations that describes the conditions under which a category of drugs may be

13   marketed without a prescription. See 21 C.F.R. § 330.1 (titled “General conditions for general

14   recognition as safe, effective and not misbranded”) and § 330.10 (titled “Procedures for classifying

15   OTC drugs as generally recognized as safe and effective and not misbranded, and for establishing

16   monographs”); see also Nat. Res. Def. Council, Inc. v. U.S. Food & Drug Admin., 710 F.3d 71, 75

17   (2d Cir. 2013) (describing the monograph process). A monograph is “like a recipe” for each

18   category of OTC drugs: it “sets out the FDA-approved active ingredients for a given therapeutic

19   class of OTC drugs” and specifies acceptable doses, formulations, and labeling for those drugs.

20   NRDC, 710 F.3d at 75. An OTC drug that complies with its monograph “is generally recognized

21   as safe and effective and is not misbranded.” 21 C.F.R. § 330.1.

22          The FDA’s monograph process is rigorous. A monograph is developed only after the FDA

23   has appointed an advisory panel of independent experts, which “review[s] all available data” and

24   reports its “conclusions and recommendations” to the FDA “with respect to the safety and

25   effectiveness of the drugs.” Id. § 330.10(a). Based on the panel’s recommendations, the FDA

26   publishes a proposed monograph for public comment, and then proceeds to publish a “tentative
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 1   final monograph” (“TFM”) for further public comment. Id. § 310.10(a)(7). “After reviewing [any]

 2   objections, the entire administrative record including all new data and information and comments,

 3   and considering the arguments made at any oral hearing,” the FDA publishes a final monograph

 4   “establishing conditions under which a category of OTC drugs or a specific or specific OTC drugs

 5   are generally recognized as safe and effective and not misbranded.” Id. § 310.10(a)(9).

 6          B.     Federal Labeling Requirements for Medicines Containing DXM
 7          The FDA began the monograph process for OTC cold and cough medications in 1972. See

 8   41 Fed. Reg. 38,312, 38,314 (Sept. 9, 1976). After an agency-appointed panel of experts studied

 9   the safety and efficacy of the medications, and following multiple rounds of public comment, the

10   FDA published a TFM for OTC antitussives in 1983 (48 Fed. Reg. 48,576 (Oct. 19, 1983)) and a

11   final monograph in 1987 (52 Fed. Reg. 30,042, 30,055–56 (Aug. 12, 1987) (codified at 21 C.F.R.

12   § 341.74)). See Carter, 582 F. Supp. 2d at 1275–76 (C.D. Cal. 2008) (describing the OTC

13   antitussive monograph process).

14          The final monograph that emerged from this 15-year process has comprehensive labeling

15   requirements for products containing DXM. Specifically, the monograph regulates the indication

16   statements, required warnings, and dosage directions that must appear on the label. See 21 C.F.R.

17   § 341.74 (b)(3)(vi)–(vii), (c)(4)(v)–(vi), (d)(1)(iii) (titled “Labeling of antitussive drugs”).

18   Importantly, the monograph neither requires a warning that drowsiness is a side effect of DXM,

19   nor prohibits the labeling of a product containing DXM as “non-drowsy.” The FDA arrived at this

20   final monograph—with no restrictions like those Plaintiffs demand here—after affirmatively

21   considering the relationship between DXM and drowsiness and documenting in the TFM that it

22   was “not aware of data demonstrating that the antitussive ingredient[] … [DXM] … require[s] a

23   drowsiness warning.” 48 Fed. Reg. at 48,589 (emphasis added).

24          By contrast, the FDA requires that other OTC cough medications expressly warn of

25   potential drowsiness. These warnings take two forms—that a medication “may cause drowsiness”

26   or that it “may cause marked drowsiness.” 21 C.F.R. §§ 341.72(c)(3) (requiring “drowsiness”
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 1   warning for several antihistamines); 341.72(c)(4) (requiring “marked drowsiness” warning for

 2   products containing diphenhydramine or doxylamine); 341.85(c)(4) (requiring “marked

 3   drowsiness” warning when an antihistamine is combined with an oral antitussive). Tellingly, the

 4   FDA did not require any such drowsiness disclosure for products containing DXM.                         Id.

 5   § 341.74(c)(4)(i)–(vi) (listing warnings actually required for certain antitussives).

 6          C.      Plaintiffs’ Allegations
 7          Plaintiffs purchased medicines for “severe” cold and flu symptoms: Ms. Fitzl alleges she

 8   purchased a “Basic Care Vapor Ice Daytime and Nighttime Severe Cold and Flu combo pack,”

 9   and Ms. Horton alleges she purchased a “Basic Care Daytime Severe and Nighttime Severe Cold

10   and Flu combo pack.” Compl. ¶¶ 8, 9 (emphasis added). Both “took the medication as directed”

11   and, at some point thereafter, “became unexpectedly drowsy.” Id.

12          Conspicuously absent from the Complaint is any allegation that the medicines actually

13   caused either Plaintiff’s alleged drowsiness. Plaintiffs’ purchase of medicines for “severe” cold

14   and flu symptoms indicates that both sought relief from cold and/or flu symptoms. The Complaint

15   alleges no facts from which the Court can reasonably infer that the medicines, rather than

16   Plaintiffs’ preexisting sicknesses or one of the many other reasons one becomes tired, caused their

17   alleged drowsiness. In fact, Plaintiffs offer no detail about their particular circumstances, resting

18   their contention that DXM caused their drowsiness on speculation and assumption.

19          Plaintiffs instead allege that the medicines they took contain DXM, that documents found

20   on the internet suggest to them that drowsiness can be a side effect of DXM, and that the medicine

21   labels do not warn of the risk of drowsiness. At the same time, however, Plaintiffs concede that

22   the FDA regulations “do not require products with [DXM] to include an affirmative ‘drowsiness’

23   warning.” Id. ¶ 34. Nevertheless, Plaintiffs allege that the absence of a drowsiness warning

24   “deprived [them] of the benefit of their bargain.” Id. ¶¶ 6, 8–9, 37. Plaintiffs assert only economic

25   harm, measured by either the amount they paid for the medicines or an unspecified amount they

26   claim they would have somehow saved had the labeling been different. Id. ¶ 41.
     MOTION TO DISMISS PLAINTIFFS’ COMPLAINT - 5
                                                                                         K&L GATES LLP
     CASE NUMBER 2:22-CV-00544-TL                                                       925 FOURTH AVENUE
                                                                                             SUITE 2900
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 1          Based on these allegations, Plaintiffs assert claims for: (1) breach of express warranty;

 2   (2) violation of the Wisconsin Deceptive Trade Practices Act, Wis. Stat. Ann. §§ 100.18, et seq.,

 3   (as to Ms. Fitzl); (3) violation of the Ohio Deceptive Trade Practices Act, Ohio Rev. Code Ann.

 4   §§ 4165.01, et seq., (as to Ms. Horton); (4) unjust enrichment; (5) negligent misrepresentation; and

 5   (6) intentional misrepresentation. Plaintiffs seek money damages, equitable relief (i.e., restitution),

 6   and a vague, undefined injunction. See Compl. at p. 19 (“Prayer for Relief”).

 7                                  III.    LEGAL STANDARD
 8          “[T]o satisfy Rule 8(a)(2) a complaint must contain sufficient factual content ‘to state a

 9   claim to relief that is plausible on its face.’” Landers v. Quality Commc’ns, Inc., 771 F.3d 638,

10   641 (9th Cir. 2015) (quoting Twombly, 550 U.S. at 570). Plausibility requires “more than a sheer

11   possibility that a defendant has acted unlawfully.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

12   “Where a complaint pleads facts that are ‘merely consistent with’ a defendant’s liability, it ‘stops

13   short of the line between possibility and plausibility of ‘entitlement to relief.’” Id. (quoting

14   Twombly, 550 U.S. at 557). Plaintiffs must allege facts—not mere “labels and conclusions[,]”

15   “formulaic recitation[s] of the elements of a cause of action[,]” or “naked assertion[s] devoid of

16   further factual enhancement”—to elevate their claims from merely possible, to plausible. Id.

17   (internal quotation marks omitted).

18          Courts do not apply this analysis in a vacuum. Instead, “determining whether a complaint

19   states a plausible claim is context specific, requiring the reviewing court to draw on its experience

20   and common sense.” Iqbal, 556 U.S. at 663–64; see Grigsby v. Valve Corp., No. C12-0553JLR,

21   2012 WL 5993755, at *4 (W.D. Wash. Nov. 14, 2012) (recognizing that “context matters” and

22   granting Rule 12(b)(6) motion). Further, “a complex, large-scale case such as a class action should

23   naturally have a higher plausibility threshold than a simpler case.” Id. Plaintiffs must also satisfy

24   Rule 9(b)’s heightened pleading standard and plead their claims—all of which sound in fraud—

25   with particularity. See Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097, 1103–04 (9th Cir. 2003)

26   (claims “grounded in fraud” must satisfy Rule 9(b), even if fraud is not a necessary element).
     MOTION TO DISMISS PLAINTIFFS’ COMPLAINT - 6
                                                                                          K&L GATES LLP
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 1                                          IV.     ARGUMENT

 2          A.      The FDCA Preempts Plaintiffs’ Claims

 3                  1.      The FDCA broadly preempts state law claims challenging the labeling
                            of OTC antitussives
 4
            Congress enacted Section 379r of the FDCA to bring national uniformity to the labeling of
 5
     OTC drugs. See 21 U.S.C. § 379r (titled “National uniformity for nonprescription drugs”).
 6
     Section 379r thus contains an express preemption clause, prohibiting states from establishing “any
 7
     requirement … that is different from or in addition to, or that is otherwise not identical with”
 8
     federal law. Id. § 379r(a). This preemption is sweeping and reaches, among other things, any
 9
     cause of action brought under state common law that purports to impose a labeling requirement
10
     that is different from, in addition to, or not identical with federal law on the subject. See Reigel v.
11
     Medtronic, Inc., 552 U.S. 312, 324–25 (2008) (interpreting a similar preemption provision and
12
     finding that “reference to a State’s ‘requirements’ includes its common-law duties”); Carter, 582
13
     F. Supp. 2d at 1282 (explaining that Reigel and § 379r “suggest that virtually any state requirement
14
     that relates to the regulation of nonprescription drugs can be preempted, regardless of the common
15
     law theory under which it is brought”).
16
            “In the context of OTC drugs,” courts have found FDCA preemption applies both “when
17
     a state law prohibits labeling that is permitted under federal law” and “when a state law prohibits
18
     labeling that is not prohibited under federal law[.]” Wiltz v. Chattem, Inc., No. CV 15-1352-R,
19
     2015 WL 3862368, at *1 (C.D. Cal. May 8, 2015); see also Bowling, 65 F. Supp. 3d at 375 (“The
20
     standard … is not whether a state law actively undermines federal law. It is whether the state law
21
     diverges from federal law at all.”). Put another way, “§ 379r(a) preempts state law claims that
22
     require additional information or labeling or that prohibits labeling beyond what is expressly stated
23
     in the applicable federal requirements.” McFall, 2021 WL 2327936, at *8; see also Kanter v.
24
     Warner-Lambert Co., 99 Cal. App. 4th 780, 795 (2002) (“[W]hen a state law claim, however
25

26
     MOTION TO DISMISS PLAINTIFFS’ COMPLAINT - 7
                                                                                          K&L GATES LLP
     CASE NUMBER 2:22-CV-00544-TL                                                        925 FOURTH AVENUE
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 1   couched, would effectively require a manufacturer to include additional or different information

 2   on a federally approved label, it is preempted.”).

 3          Final FDA monographs have preemptive effect under the FDCA. See Youngblood v. CVS

 4   Pharmacy, No. 2:20-cv-06251-MCS-MRW, 2021 WL 3700256, at *2–3 (C.D. Cal. Aug. 17, 2021)

 5   (mislabeling claims preempted by requirements in FDA monograph); Kanter, 99 Cal. App. 4th at

 6   795 (discussing the preemptive effects of monographs). Preemption is especially appropriate in

 7   the monograph context because, “[w]ith respect to the labeling of OTC drugs, the whole point of

 8   section 379r is that it is not up to private litigants—or judges—to decide what is ‘false or

 9   misleading.’ It is up to the FDA.” Bowling, 65 F. Supp. 3d at 377. Accordingly, where a final

10   monograph regulates the labeling of an OTC drug, the FDCA precludes any state requirements,

11   through common law claims or otherwise, “unless they are identical to federal standards.” Id. at

12   375 (internal quotation marks omitted); see also id. at 377 (to defeat preemption “plaintiffs would

13   need to plead facts suggesting that the FDA has affirmatively prohibited the label”); McFall, 2021

14   WL 2327936, at *8 (preemption operates if “the packaging elements Plaintiffs have identified as

15   false or misleading … are required, or not prohibited under the statutes, regulations, and

16   monographs that apply to OTC … products.”).

17                  2.      Plaintiffs’ state law claims targeting DXM labeling are preempted
18          Plaintiffs’ claims concerning the labeling for OTC medicines containing DXM are

19   preempted because “[i]f successful, this litigation would do exactly what Congress, in passing

20   section 379r of the FDCA, sought to forbid: using state law causes of action to bootstrap labeling

21   requirements that are ‘not identical with’ federal regulation.” Bowling, 65 F. Supp. 3d at 376.

22   Plaintiffs allege that Amazon has engaged in false and misleading marketing because, according

23   to them, “drowsiness is a documented side effect” of DXM that requires an express warning and

24   gives rise to an implicit prohibition on labels bearing the terms “non-drowsy” and “daytime.”

25   Compl. ¶¶ 5, 14–32. Plaintiffs seek both to change the “non-drowsy” and “daytime” wording on

26   the products’ labeling (thus grafting a different, additional, and non-identical prohibition into the
     MOTION TO DISMISS PLAINTIFFS’ COMPLAINT - 8
                                                                                         K&L GATES LLP
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 1   governing regulations) and to add a drowsiness warning (thus overturning the FDA’s decision not

 2   to require such warnings). See id., see also id. ¶ 37 (alleging that “[t]he product labels do not warn

 3   consumers that the products cause drowsiness, may cause drowsiness, or you may get drowsy from

 4   usage of such products”).

 5          Section 379r preempts exactly these types of proposed changes and additions to labeling

 6   requirements set forth in FDA monographs. See, e.g., Harris v. Topco Assocs., LLC, 538 F. Supp.

 7   3d 826, 833 (N.D. Ill. 2021) (plaintiff’s “claims are preempted because she seeks to impose

 8   additional obligations on [defendant] not imposed by the [monograph]”); Youngblood, 2021 WL

 9   3700256, at *3 (dismissing claims “seeking additional, gratuitous representations” as “not

10   compatible with the FDCA”); Wiltz, 2015 WL 3862368, at *2 (same); Gisvold v. Merck & Co.,

11   Inc., 62 F. Supp. 3d 1198, 1203 (S.D. Cal. 2014) (“Because the proposed disclaimer plainly adds

12   to and is not identical with the FDA’s requirements, Plaintiff’s action is expressly pre-empted”);

13   Kanter, 99 Cal. App. 4th, at 797 (“Because all of plaintiffs’ state law causes of action … are also

14   based ultimately on the assertion that the labels on those products are no longer accurate or

15   adequate, they … cannot escape preemption.”).

16          Plaintiffs are likely to argue that their claims are not preempted because the FDA’s

17   antitussive monograph does not expressly endorse use of the term “non-drowsy” on labels for OTC

18   products containing DXM. This argument is a nonstarter. As a practical matter, the FDA cannot

19   list out every word that is permissible for every label for every type of OTC product. That is

20   precisely why the FDCA prohibits not only state law claims that purport to impose requirements

21   “different from” the FDA’s labeling requirements, but also any claims that seek to impose

22   requirements or restrictions “in addition to” or “otherwise not identical with” those labeling

23   requirements. 21 U.S.C. § 379r(a).

24          But, more importantly, courts have rejected this argument, holding that state law cannot

25   prohibit “labeling that is not prohibited under federal law.” Wiltz, 2015 WL 3862368, at *1; see

26   also McFall, 2021 WL 2327936, at *8 (same). This holds particularly true where, as here, the
     MOTION TO DISMISS PLAINTIFFS’ COMPLAINT - 9
                                                                                         K&L GATES LLP
     CASE NUMBER 2:22-CV-00544-TL                                                       925 FOURTH AVENUE
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 1   FDA specifically considered whether DXM causes drowsiness and declined to: (i) require the

 2   types of warnings Plaintiffs seek; or (ii) restrict the types of language, i.e., “non-drowsy” or

 3   “daytime,” that Plaintiffs challenge. Various cases offer instructive insight.

 4          In Carter v. Novartis, the Central District of California dismissed state law claims

 5   challenging the labeling on certain OTC cough and cold medicines as safe for children under six.

 6   582 F. Supp. 2d at 1276–77, 1284–85. During the monograph process for the medicines at issue,

 7   and after considering relevant evidence, the FDA only prohibited the use of the medicines to treat

 8   children under two. Id. at 1276–77. Citing “various studies, articles from the New York Times,

 9   and two recent clinical studies,” the plaintiffs nonetheless brought fraud and warranty claims

10   alleging that the defendants “knew or should have known” the products were dangerous to other

11   children and should not have marketed them as “safe and effective for children under six.” Id.

12   The court found plaintiffs’ claims preempted because the marketing statements were “based

13   entirely upon FDA-approved labeling and advertising,” which “explain[ed] the conditions under

14   which the FDA … determined that OTC cough and cold medicine will be safe and effective.” Id.

15   at 1284–85. That was so because, while the FDA considered potential restrictions related to

16   children under six, it ultimately did not prohibit labels from saying they were “safe and effective

17   for children under six.” Id.

18          The California Court of Appeals reached a similar conclusion in Eckler v. Neutrogena

19   Corp., 238 Cal. App. 4th 433, 456–57 (2015). In that case, the court held that a plaintiff could not

20   pursue claims that it was misleading to label sunscreen as “sunblock,” “waterproof,” or

21   “sweatproof,” when the FDA had considered the issue but had not prohibited the use of those

22   terms. Id.

23          Additionally, in Bowling v. Johnson & Johnson, the Southern District of New York

24   rejected the plaintiffs’ attempt to force the maker of Listerine to remove the statement “restores

25   enamel” from its mouthwashes. 65 F. Supp. 3d at 373. There, the plaintiffs claimed the statement

26   was false because, they alleged, enamel loss was permanent and no mouthwash could restore it.
     MOTION TO DISMISS PLAINTIFFS’ COMPLAINT - 10
                                                                                        K&L GATES LLP
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 1   Id. The court found the claims preempted, however, because the FDA had issued regulations

 2   concerning appropriate labeling for mouthwash and did not prohibit use of the language “restores

 3   enamel.” Id. at 376. The court reasoned that “[t]his case might be different if the FDA had issued

 4   no guidance as to dental hygiene products,” but that, “[a]s it stands, … the FDA has issued a

 5   monograph directly on point but declined, in spite of that, to indicate … that ‘Restores Enamel’ is

 6   misleading.” Id.; see also Wiltz, 2015 WL 3862368, at *2 (same).

 7          Finally, in McFall v. Perrigo Co., the Central District of California reiterated the broad

 8   preemptive scope of § 379r(a), which not only preempts claims that “require additional

 9   information or labeling” (i.e., like adding a drowsiness warning), but also claims that “prohibit[]

10   labeling beyond what is expressly stated in the applicable federal regulation” (i.e., like prohibiting

11   the terms “non-drowsy” or “daytime”). 2021 WL 2327936, at *8 (claims preempted if the

12   challenged labeling is “not prohibited under [applicable] statutes, regulations, and monographs”).

13   Although the McFall court found the claims at issue there not preempted, it did so because the

14   TFM required the use of the term “children” and appeared to prohibit the use of the term “infant”

15   (which was used on the challenged labels). Id. at *9–10.

16          Importantly, the above-described cases each turned on state law claims—like those

17   asserted here—that sought to impose labeling requirements and restrictions on subject matters that

18   the FDA had previously considered and regulated. That sets those cases, and this case, starkly

19   apart from cases like Astiana v. Hain Celestial Group, Inc., 783 F.3d 753 (9th Cir. 2015), and its

20   progeny, which turned instead on labeling challenges concerning subject matters never considered

21   by the FDA and not addressed by any applicable federal regulations. Compare Astiana, 783 F.3d

22   at 758–59 (holding that claims targeting the labeling of cosmetics as “natural” were not preempted

23   because “the FDA ha[d] never issued regulations regarding the use of ‘natural’ on cosmetics

24   labels”), with Durnford v. MusclePharm Corp., 907 F.3d 595, 602 (9th Cir. 2018) (distinguishing

25   Astiana because “[n]o statute or regulation governed the use of ‘natural’ on cosmetics labels”

26   (internal quotation marks omitted)). In other words, Astiana stands for the unremarkable—and
     MOTION TO DISMISS PLAINTIFFS’ COMPLAINT - 11
                                                                                         K&L GATES LLP
     CASE NUMBER 2:22-CV-00544-TL                                                       925 FOURTH AVENUE
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 1   inapposite—proposition that preemption does not apply when “the FDA says nothing about the

 2   subject matter” of a plaintiff’s claims. Bimont v. Unilever U.S., Inc., No. 14-CV-7749 (JPO), 2015

 3   WL 5256988, at *3-5 (S.D.N.Y. Sept. 9, 2015) (interpreting Astiana).

 4          Unfortunately, litigants and courts alike have misread and misapplied Astiana. The Central

 5   District of California in Lemus v. Rite Aid Corp., for example, recently rejected preemption of

 6   “non-drowsy” labeling claims on the mistaken ground that Astiana held that preemption could

 7   only apply if the FDA had expressly authorized use of the term “non-drowsy” in its final

 8   regulations.   See No. 22-cv-00253, 2022 WL 2721385, at *2-3 (C.D. Cal. July 7, 2022).

 9   Respectfully, the Lemus court’s treatment of Astiana is incorrect. Lemus conspicuously fails to

10   acknowledge, or analyze, that the FDA expressly considered the connection, if any, between DXM

11   and drowsiness and the labeling parameters for medicines containing DXM. In other words,

12   Lemus mistakenly ignores that the state law “non-drowsy” labeling claims in that case fall into the

13   “considered and addressed” category like those in Carter, Eckler, and Bowling—which are

14   preempted—and not into the “never been addressed” category of claims like those in Astiana.

15          Ultimately, the FDA has set forth specific requirements for the labeling of OTC medicines

16   containing DXM. Through their claims, Plaintiffs seek to impose additional labeling requirements

17   and graft additional, different, and non-identical prohibitions on top of those promulgated by the

18   FDA. As such, “[i]f Plaintiffs were permitted to move forward with their claims, they would be

19   using state law to impose labeling requirements on top of those already mandated in the FDCA

20   and the regulations promulgated thereunder [which] … is exactly what the FDCA does not permit.”

21   Critcher v. L’Oreal USA, Inc., 959 F.3d 31, 36 (2d Cir. 2020); see also Turek v. General Mills,

22   Inc., 662 F.3d 423, 427 (7th Cir. 2011) (“The disclaimers that the plaintiff wants added … are not

23   identical to the labeling requirements imposed on such products by federal law, and so they are

24   barred.”); Carter, 582 F. Supp. 2d at 1285 (claims preempted where they would “impose liability

25   upon Defendants for complying with FDA regulations”). Plaintiffs’ claims are preempted and,

26   therefore, the Court should dismiss the Complaint in its entirety and with prejudice.
     MOTION TO DISMISS PLAINTIFFS’ COMPLAINT - 12
                                                                                       K&L GATES LLP
     CASE NUMBER 2:22-CV-00544-TL                                                     925 FOURTH AVENUE
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 1            B.       Plaintiffs Do Not Plausibly Allege that the Labels are False or Misleading

 2            Plaintiffs’ claims turn on the conclusory allegation that DXM causes or may cause

 3   drowsiness. See Compl. ¶¶ 23–41. From there, Plaintiffs contend that the labeling is false,

 4   deceptive, and misleading because it uses the terms “non-drowsy” and “daytime” and “do[e]s not

 5   disclose anywhere on the packaging that [the medicines] do or can cause drowsiness, or that

 6   drowsiness is a side effect.” Id. ¶¶ 31–32. These allegations are insufficient under Rules 8(a) and

 7   9(b) to sustain a plausible claim that the medicines cause or may cause drowsiness.

 8                     1.       Plaintiffs fail to plausibly allege that DXM causes drowsiness

 9            To support the contention that DXM causes drowsiness, Plaintiffs primarily rely on certain

10   materials found on the internet. Those sources, however, do not support a plausible inference that

11   drowsiness is, in fact, a “well-documented side effect” of DXM. See Compl. ¶ 24.

12            First, Plaintiffs misleadingly cite two papers for the proposition that “sedation is a well-

13   known adverse event of [DXM].” Id. ¶ 29. In one, the very first paragraph belies Plaintiffs’

14   allegation, stating that, as an antitussive, “DXM has strong safety and efficacy profiles with no

15   sedative or addictive properties at the recommended doses.”                         A. Siu & R. Drachtman,

16   Dextromethorphan: A Review of N-methyl-d-aspartate Receptor Antagonist in the Management of

17   Pain, 13 CNS Drug Reviews 1, pp. 96–106, 96 (2007) (emphasis added) (Ex. A to the Declaration

18   of Ruby Nagamine (“Nagamine Decl.”)).1 It is only where the study addresses “overdoses” of

19   DXM or its use “at higher doses” that it notes adverse effects that may include drowsiness. Id. at

20   pp. 99, 102. The other study is equally unhelpful to Plaintiffs’ Complaint, as it acknowledges that

21   “a sedative effect … was … little reported” when DXM was used to treat pain, and that the pain

22   relieving “effect of [DXM] is not accompanied by a sedative effect.”                           E. Martin, et al.,

23   Dextromethorphan Analgesia in a Human Experimental Model of Hyperalgesia, 131

24
     1
       In deciding this Motion, the Court may consider each of the studies, papers, websites, and other materials expressly
25   referenced or cited in the Complaint. See Swartz v. KPMG LLP, 476 F.3d 756, 763 (9th Cir. 2007) (“[A] court may
     consider a writing referenced in a complaint but not explicitly incorporated therein if the complaint relies on the
26   document and its authenticity is unquestioned.”).
     MOTION TO DISMISS PLAINTIFFS’ COMPLAINT - 13
                                                                                                      K&L GATES LLP
     CASE NUMBER 2:22-CV-00544-TL                                                                    925 FOURTH AVENUE
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 1   Anesthesiology 2, pp. 365–66 (Aug. 2019) (emphasis added) (Ex. B to Nagamine Decl.). Both

 2   papers address the potential use of DXM to relieve pain at dosages higher than those recommended

 3   for antitussive purposes, and neither purports to establish a causal relationship between

 4   recommended dosages of DXM and drowsiness. See Manuel v. Pepsi-Cola Co., 763 F. App’x

 5   108, 109 (2d Cir. 2019) (finding no plausible inference that the term “diet” was false, inaccurate,

 6   or misleading where “[n]one of the studies purport to establish a causal relationship between non-

 7   nutritive sweeteners and weight gain to a degree that is sufficiently strong”).

 8          Second, Plaintiffs mischaracterize two online FAQ pages, which describe drowsiness as a

 9   potential symptom of an overdose of DXM.            See Mayo Clinic, Drugs and Supplements:

10   Dextromethorphan (Oral Route), pp. 7–8 (listing “drowsiness” as a “[s]ymptom[] of overdose”

11   and “drowsiness (mild)” as “[l]ess common or rare”) (Ex. C to Nagamine Decl.); Nat’l Institutes

12   of Health/Nat’l Library of Med., Dextromethorphan: Medline Plus Drug Information, p. 4 (listing

13   “drowsiness” as a potential “[s]ympton[] of overdose”) (Ex. D to Nagamine Decl.). Potential

14   overdose symptoms have no bearing on Plaintiffs’ allegation that proper use of the medicines at

15   the recommended dosage cause drowsiness. While the National Institutes of Health webpage

16   could potentially be read to suggest that drowsiness might be a side effect outside of the overdose

17   context, the page provides no explanation, data, or support for that suggestion and thus lacks

18   sufficient detail to “cross the threshold from allegations of correlation to causation.” Becerra v.

19   Dr Pepper/Seven UP, Inc., No. 17-cv-05921-WHO, 2018 WL 3995832, at *6, *8–9 (N.D. Cal.

20   Aug. 21, 2018) (finding studies cited by plaintiff did not “supply the plausibility of a causal link

21   between Diet Dr Pepper and weight gain”), aff’d, 945 F.3d 1225 (9th Cir. 2019).

22          Third, Plaintiffs point to two documents, identified as “safety data sheets,” from other

23   entities, both of which are irrelevant to the medicines in this case. See Compl. ¶¶ 27–28. One

24   document addresses a Robitussin product and the other concerns a commercially available, raw

25   form of DXM. Pfizer, Safety Data Sheet for Robitussin Cough and Chest Congestion DM, dated

26   Feb. 23, 2018, at p. 6 (emphasis added) (Ex. E to Nagamine Decl.); Santa Cruz Biotechnology,
     MOTION TO DISMISS PLAINTIFFS’ COMPLAINT - 14
                                                                                         K&L GATES LLP
     CASE NUMBER 2:22-CV-00544-TL                                                       925 FOURTH AVENUE
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 1   Inc., Dextromethorphan Hydrobromide: Material Safety Data Sheet (Ex. F to Nagamine Decl.).

 2   Neither document concerns the medicines at issue here. See Becerra v. Dr Pepper/Seven Up, Inc.,

 3   945 F.3d 1225, 1230 (9th Cir. 2019) (affirming dismissal of claims where cited advertisements

 4   were “irrelevant to [plaintiff’s] claims”).

 5          Finally, Plaintiffs take certain Federal Aviation Administration (“FAA”) guidelines out of

 6   context, suggesting they show that DXM-containing medications cause drowsiness. The FAA

 7   guidelines, however, appear primarily focused on antihistamines or combination products

 8   containing antihistamines. They state that “[m]ost cough medications are safe for flight,” but

 9   caution pilots to avoid “combination products with sedating antihistamines.” FAA, What Over-

10   the-Counter (OTC) medications can I take and still be safe to fly?, p. 3 (Nov. 13, 2019) (Ex. G to

11   Nagamine Decl.). That guidance comports with FDA rules stating that products containing a

12   combination of antitussives and antihistamines must disclose that they “may cause marked

13   drowsiness.” 21 C.F.R. § 341.85(c)(4). But DXM is not an antihistamine, and none of the

14   medicines Plaintiffs challenge contain antihistamines.

15                  2.      Plaintiffs fail to allege that the medicines as a whole cause drowsiness

16          Plaintiffs also fail to plausibly allege that the challenged medicines as a whole—which

17   combine DXM with other active ingredients—cause drowsiness. This is important because courts

18   have rejected attempts to work around the pleading requirements by focusing on one ingredient

19   and ignoring the product as a whole. See In re GNC Corp., 789 F.3d 505, 510–11, 516 (4th Cir.

20   2015) (dismissing deceptive marketing claims because “Plaintiffs failed to allege that all of the

21   purportedly active ingredients in each product are ineffective” and thus did not “adequately plead

22   falsity of the representations regarding the products as a whole.”); Toback v. GNC Holdings, Inc.,

23   No. 13-80526-CIV, 2013 WL 5206103, at *5 (S.D. Fla. 2013) (allegations regarding the inefficacy

24   of two ingredients do not plausibly suggest that the product “as a whole does not function as

25   advertised” (emphasis added)); Eckler v. Wal-Mart Stores, Inc., No. 12-cv-727-LAB-MDD, 2012

26   WL 5382218, at *6 (S.D. Cal. Nov. 1, 2012) (dismissing false advertising claim where “none of
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 1   these studies actually involved Equate” and “it is the overall formulation that’s behind the

 2   representation”).

 3          Without any plausible and specific allegations that DXM alone—or any of the medicines

 4   as a whole—cause drowsiness, the Complaint fails to state a claim for relief and should be

 5   dismissed. See Aloudi v. Intramedic Research Grp., LLC, 729 F. App’x 514, 516 (9th Cir. 2017)

 6   (affirming dismissal where plaintiff’s allegations did not involve scientific testing of the actual

 7   challenged product); see also Excevarria v. Dr Pepper Snapple Grp., Inc., 764 F. App’x 108, 109–

 8   10 (2d Cir. 2019) (affirming dismissal where “[n]one of the studies cited” supported mislabeling

 9   claims); Kardovich v. Pfizer, Inc., 97 F. Supp. 3d 131, 141 (E.D.N.Y. 2015) (dismissing deception

10   claims because cited studies did not raise a plausible inference that the label was false).

11                  2.      Plaintiffs fail to plausibly allege that the medicines caused their alleged
                            drowsiness
12
            Plaintiffs also attempt to base their central allegation—that DXM causes drowsiness—on
13
     anecdotal evidence of their own personal experiences with one medicine. But, the Complaint
14
     offers no details or fact-based allegations about their experiences to support the assumption. The
15
     Complaint does not even allege that the medicines Plaintiffs took actually caused their drowsiness.
16
     Plaintiffs instead want the Court to assume that their drowsiness, coming sometime after they took
17
     the medicine (they do not say how long), must have been attributable to DXM, rather than to one
18
     of the many other possible causes for drowsiness (e.g., large meals, pre-existing conditions,
19
     sickness, long hours, or a lack of sleep). This is insufficient.
20
            As explained above, when determining whether the Complaint states a plausible claim,
21
     “context matters” and the Court must “draw on its experience and common sense.” Iqbal, 556
22
     U.S. at 663–64; Grigsby, 2012 WL 5993755, at *4. Here, Plaintiffs presumably purchased the
23
     medicines to treat cold and/or flu symptoms that they were experiencing at the time. Drawing on
24
     common sense, those symptoms could be, and likely were, a contributing factor to any drowsiness
25
     Plaintiffs may have experienced. Without concrete factual allegations plausibly tying Plaintiffs’
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 1   drowsiness to the medicines, the Complaint stops short of the line between mere possibility and

 2   plausibility. See, e.g., Aloudi, 729 F. App’x at 517 (rejecting anecdotal allegations that plaintiffs’

 3   failure to lose weight plausibly supported claims that weight-loss based marketing was false);

 4   Toback, 2013 WL 5206103, at *6 (rejecting plaintiff’s allegations that joint health products “did

 5   not repair his cartilage” and thus “did not function as advertised”).

 6           C.       Plaintiffs’ Claims Each Fail for Separate and Independent Reasons
 7                    1.       The Conditions of Use bar non-Washington law claims under Wis. Stat.
                               Ann. § 100.18 and Ohio Rev. Code § 4165.01
 8
             By purchasing the products from Amazon.com (Compl. ¶¶ 8–9), Plaintiffs accepted and
 9
     agreed to Amazon’s Conditions of Use (“COUs”).2 See COUs, dated May 21, 2021, at p. 1
10
     (providing that by using “Amazon products or services,” an Amazon customer agrees to comply
11
     with the COUs).3 Amazon’s COUs form a valid and enforceable contract. See Wiseley v.
12
     Amazon.com, Inc., 709 F. App’x 862, 863 (9th Cir. 2017) (“The [COUs] … created a valid contract
13
     between Amazon and its customers[.]”). The COUs unambiguously state that Washington law
14
     governs all disputes between Amazon and Plaintiffs:
15
             By using any Amazon Service, you agree that applicable federal law, and the laws
16           of the state of Washington, without regard to principles of conflict of laws, will
             govern these Conditions of Use and any dispute of any sort that might arise between
17           you and Amazon.
18   COUs at p. 4.

19           Federal courts sitting in diversity apply the choice-of-law rules of the forum state. Bryant

20   v. Wyeth, 879 F. Supp. 2d 1214, 1220 (W.D. Wash. 2012). Under Washington law, courts

21
     2
      As the Court has explained, customers “accept the COU every time they make a purchase on Amazon.com; to make
22   a purchase, customers must click a button next to text that says ‘by placing your order, you agree to Amazon.com’s
     privacy notice and conditions of use,’ the [emphasized] portions also bearing hyperlinks to the eponymous
23   documents.” Ekin v. Amazon Servs., LLC, 84 F. Supp. 3d 1172, 1173 (W.D. Wash. 2014).
     3
24     See Exhibit H to Nagamine Decl. The COUs are integral to Plaintiffs’ claims and Amazon’s defenses, such that the
     court may consider them on a motion to dismiss. See Garner v. Amazon.com, Inc., No. C21-0750RSL, 2022 WL
25   1443680, at *2–3 (W.D. Wash. May 6, 2022) (considering certain Amazon online terms and FAQs in connection with
     a motion to dismiss). The Court may also take judicial notice of the COUs. See id. at *3; see also Amazon’s Request
26   for Judicial Notice (“RJN”), at p. 1 (filed contemporaneously herewith).

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 1   “generally enforce choice of law provisions,” unless another state has “a materially greater interest

 2   than the chosen state” and application of the chosen state law would contravene “a fundamental

 3   policy” of the other state. ACD Distrib., LLC v. Wizards of the Coast, LLC, No. C18-1517JLR,

 4   2020 WL 3266196, at *4 (W.D. Wash. June 17, 2020) (internal quotation marks omitted), aff’d,

 5   No. 20-235986, 2021 WL 4027805 (9th Cir. Sept. 3, 2021). Application of Washington law does

 6   not contravene public policy. See id. at *5–6; see also Wiseley, 709 F. App’x at 863 (enforcing

 7   Washington choice-of-law provision in Amazon’s COUs because “applying Washington law is

 8   not contrary to a fundamental policy of California law”). Amazon’s COUs therefore preclude

 9   Plaintiffs from stating claims under the Wisconsin and Ohio Deceptive Trade Practices Acts

10   (Counts II and III). See Chung v. Vistana Vacation Ownership, Inc., 719 F. App’x 698, 698 (9th

11   Cir. 2018) (holding that where the parties’ agreement selected the governing law, the district court

12   properly dismissed claims under another state’s statute); ACD Distrib., LLC, 2020 WL 3266196,

13   at *6 (enforcing Washington choice-of-law provision and dismissing Wisconsin law claim).

14                  2.      Plaintiffs’ breach of warranty claim fails for several reasons
15          Plaintiffs’ breach of warranty claim (Count I) fails for three additional reasons.

16          First, Amazon unequivocally disclaimed all express and implied warranties for the

17   products Plaintiffs purchased. The Amazon COUs provide in relevant part that:

18          AMAZON MAKES NO REPRESENTATIONS OR WARRANTIES OF ANY
            KIND, EXPRESS OR IMPLIED, AS TO THE OPERATION OF THE AMAZON
19          SERVICES, OR THE INFORMATION, CONTENT, MATERIALS, PRODUCTS
            (INCLUDING SOFTWARE) OR OTHER SERVICES INCLUDED ON OR
20          OTHERWISE MADE AVAILABLE TO YOU THROUGH THE AMAZON
            SERVICES, UNLESS OTHERWISE SPECIFIED IN WRITING. . . .
21
            TO THE FULL EXTENT PERMISSIBLE BY LAW, AMAZON DISCLAIMS
22          ALL WARRANTIES, EXPRESS OR IMPLIED, INCLUDING, BUT NOT
            LIMITED TO, IMPLIED WARRANTIES OF MERCHANTABILITY AND
23          FITNESS FOR A PARTICULAR PURPOSE.
24   COUs at pp. 3–4. This waiver is consistent with Wash. Rev. Code § 62A.2-316, which expressly

25   permits parties to disclaim or modify warranties. And while the Washington Supreme Court held

26   in Berg v. Stromm that disclaimers in consumer automobile purchases must be explicitly negotiated
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 1   and set forth with particularity, the court subsequently declined to extend those requirements to

 2   certain other transactions analogous to Plaintiffs’ purchases here.

 3          In Travis v. Washington Horse Breeders Ass’n, Inc., the Washington Supreme Court

 4   expressed its “reluctan[ce] to extend the [Berg] rule in other circumstances” and declined to do so

 5   with respect to auctions, reasoning that auctions do not involve “negotiations such as are typically

 6   found in the purchase of an automobile” and the conditions of sale “were in large, bold type,”

 7   “were legible and easy to read,” and the “final bill of sale was on a single page, easy to read, and

 8   understandable.” 111 Wash. 2d 396, 403 (1988). The court further noted that one purpose of an

 9   auction is “to avoid face-to-face negotiations” and thus serve as “a cost-saving device in which

10   face-to-face negotiations, except as to price, are not engaged in by the parties.” Id. at 403–04.

11   Plaintiffs’ purchases here exhibit many of the same qualities as the auction considered in Travis.

12   As online purchases, Plaintiffs’ transactions do not involve face-to-face negotiations. The Amazon

13   COUs, moreover, set forth the express disclaimer in all capital letters, in a separate section entitled

14   “DISCLAIMER OF WARRANTIES AND LIMITATION OF LIABILITY”, and in clear, easy-

15   to-read, and plainly understandable language. See COUs at pp. 3–4. The Court should apply

16   Travis to enforce the disclaimer in Amazon’s COUs and dismiss Plaintiffs’ warranty claim.

17          Second, Plaintiffs have not sufficiently alleged damages.          Courts generally measure

18   damages for breach of warranty as “the difference at the time and place of acceptance between the

19   value of the goods accepted and the value they would have had if they had been as warranted ….”

20   Wash. Rev. Code § 62A.2-714(2). Although the Complaint states, in conclusory fashion, that

21   Plaintiffs “overpaid” or paid a “price premium” for non-drowsy medicines, Plaintiffs offer no

22   detail regarding the costs of the medicines they purchased or the value of the products they

23   allegedly received. Nor do they allege that “non-drowsy” medicines actually cost more than

24   similar cold and cough medications that are not labeled as “non-drowsy.” Plaintiffs, therefore,

25   have not plausibly alleged a price premium theory.

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 1          Third, Plaintiffs failed to provide timely notice of their breach of warranty claim.

 2   Washington law requires a buyer, “within a reasonable time after he or she discovers or should

 3   have discovered any breach[,]” to “notify the seller of breach or be barred from any remedy.”

 4   Wash. Rev. Code § 62A.2-607(3)(a). Here, Plaintiffs purchased the medicines in September 2021

 5   (Ms. Horton) and January 2022 (Ms. Fitzl), but did not send notice to Amazon until April 13, 2022,

 6   and filed suit just six business days later. See Compl. ¶ 57. The purpose of the notice requirement

 7   is to provide a seller with a reasonable opportunity to take remedial action, such as repairing or

 8   replacing defective items, reducing damages, or negotiating settlements. See Alvarez v. Chevron

 9   Corp., 656 F.3d 925, 932 (9th Cir. 2011) (purpose of identical California law is “to allow the

10   breaching party to cure the breach and thereby avoid the necessity of litigating the matter in

11   court”). Here, Plaintiffs failed to fulfill that requirement and did not afford Amazon a reasonable

12   time to investigate and address Plaintiffs’ claims before they filed suit. Washington law bars

13   Plaintiffs’ express warranty claim as a result of this failure. See Wash. Rev. Code § 62A.2-

14   607(3)(a) (providing that insufficient notice bars remedies for alleged breach of warranty).

15                  3.     Plaintiffs fail to state an unjust enrichment claim, or other grounds for
                           equitable relief, because they do not allege the lack of an adequate
16                         remedy at law
17          Plaintiffs seek equitable relief under their unjust enrichment claim (Count IV, requesting

18   restitution and disgorgement) and Wisconsin and Ohio statutory claims (Counts II and III,

19   unspecified relief). See Compl. ¶¶ 69 (Wisconsin law), 80 (Ohio law), 84–85 (unjust enrichment).

20   Plaintiffs, however, cannot obtain equitable relief because they have not established, and cannot

21   establish, that they lack an adequate remedy at law. See Sonner v. Premier Nutrition Corp., 971

22   F.3d 834, 844 (9th Cir. 2020) (finding that plaintiff “must establish that she lacks an adequate

23   remedy at law before securing equitable restitution”); Clark v. Eddie Bauer LLC, No. C20-1106-

24   JCC, 2021 WL 1222521, at *4 (W.D. Wash. Apr. 1, 2021) (“Federal courts are precluded from

25   awarding equitable relief when an adequate legal remedy exists” (internal alternations omitted)).

26   At the pleading stage, “the complaint must first provide sufficient allegations to explain how a
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 1   legal remedy … [is] inadequate.” Clark, 2021 WL 1222521, at *4. To do so, plaintiffs must

 2   “allege some facts suggesting that damages are insufficient to make them whole.” Gibson v.

 3   Jaguar Land Rover N. Am., LLC, No. CV 20-00769-CJC(GJSx), 2020 WL 5492990, at *4 (C.D.

 4   Cal. 2020). Claims based solely on economic injury are classic examples of claims with an

 5   adequate remedy at law—i.e, monetary damages—that preclude awards of equitable relief. See

 6   Clark, 2021 WL 1222521, at *4 (dismissing claims for equitable relief in false advertising case

 7   where plaintiff only alleged financial harm); Sharma v. Volkswagen AG, 524 F. Supp. 3d 891, 908

 8   (N.D. Cal. Mar. 9, 2021) (alleged loss of money and loss in value of purchased vehicles are

 9   “exactly the type of injury for which legal remedies are appropriate”).

10          While Plaintiffs request equitable relief, their Complaint lacks any explanation as to why

11   potential monetary damages are inadequate or why Plaintiffs are otherwise entitled to such relief.

12   See Compl. ¶¶ 69 (noting only that Ms. Fitzl seeks equitable relief under Wisconsin law), 80

13   (noting only that Ms. Horton seeks equitable relief under Ohio law), 84–85 (requesting restitution

14   and disgorgement under unjust enrichment claim). Plaintiffs, in fact, cannot make this necessary

15   showing, as their allegations of economic harm are quintessential injuries for which legal remedies

16   are adequate. Indeed, Plaintiffs expressly seek money damages for their alleged harm. See id.

17   ¶¶ 68, 79–80, 93, 103. Plaintiffs do not suggest how an award of restitution or other equitable

18   relief would provide them any additional benefits. See Hamm v. Mercedes-Benz USA, LLC, No.

19   6:16-cv-03370-EJD, 2022 WL 913192, at *5 (C.D. Cal. Mar. 29, 2022).

20           Because Plaintiffs are not entitled to equitable relief, the Court should dismiss: (1) the

21   unjust enrichment claim; (2) the Wisconsin and Ohio law claims to the extent they seek equitable

22   relief; and (3) the request for “equitable relief, including restitution and disgorgement.” See

23   Sonner, 971 F.3d at 844 (affirming dismissal of “equitable restitution” claims); Sharma, 524 F.

24   Supp. 3d at 907–09 (dismissing claims for unjust enrichment and restitution under California law);

25   Gibson, 2020 WL 5492990, at *4 (dismissing state statutory claim seeking restitution).

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 1                   4.      Plaintiffs do not allege plausible misrepresentation claims

 2           Plaintiffs have also failed to plead either intentional or negligent misrepresentation. To

 3   assert a claim for intentional misrepresentation (Count VI), Plaintiffs must allege: (1) the existence

 4   of a representation of material fact that is false; (2) Amazon’s knowledge of its falsity and intent

 5   that Plaintiffs act on it; (3) Plaintiffs’ ignorance of the falsity of the representation; (4) Plaintiffs’

 6   reliance on the representation; and (5) damages suffered by Plaintiffs as a result. See Frias v. Asset

 7   Foreclosures Servs., Inc., 957 F. Supp. 2d 1264, 1271 (W.D. Wash. 2013). To plead a claim for

 8   negligent misrepresentation (Count V), Plaintiffs must allege that: (1) Amazon supplied false

 9   information for the purpose of guiding others in business transactions; (2) Amazon knew or should

10   have known that the information would guide Plaintiffs; (3) Amazon negligently obtained or

11   communicated the false information; (4) Plaintiffs justifiably (i.e., reasonably) relied on that

12   information; and (5) the false information proximately caused Plaintiffs damage.                           See

13   Seattlehaunts, LLC v. Thomas Family Farm, LLC, No. C19-1937 JLR, 2020 WL 5500373, at *7

14   (W.D. Wash. Sept. 11, 2020). Plaintiffs fail to plausibly plead any of the foregoing, let alone with

15   the particularity required by Rule 9(b). See Vess, 317 F.3d at 1103; Frias, 957 F. Supp. 2d at 1271.

16           First, Plaintiffs fail to allege a false representation. They offer no factual basis upon which

17   this Court may plausibly infer that the non-drowsy medicines cause drowsiness when taken as

18   directed and at the recommended dosage. See Section IV.B, supra.

19           Second, Plaintiffs offer virtually no facts about their purchases and experiences with the

20   medicines. Instead, they allege only conclusory statements and bare recitations of the elements of

21   their claims, including their personal reliance on purported “representations and warranties” on the

22   products’ labels. See Compl. ¶¶ 8–9 (identical, conclusory allegations), 86–103 (rote recitation of

23   elements). Plaintiffs similarly do not allege any plausible basis on which to infer causation—

24   resting solely on the allegations that they became “unexpectedly drowsy” at some undisclosed time

25   after they took the medication. Id. ¶¶ 8–9.

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 1          Third, Plaintiffs plead no facts to suggest that Amazon had, or reasonably should have had,

 2   knowledge of the alleged falsity of the “non-drowsy” representation. Instead, Plaintiffs state, in

 3   conclusory fashion, that Amazon “knew or should have known” its representations were inaccurate

 4   because DXM “causes drowsiness.” Compl. ¶¶ 38–40, 89–90, 96. Again, as discussed above,

 5   Plaintiffs have failed to make the threshold showing that DXM causes drowsiness. See Section

 6   IV.B, supra. But even if they had, the Complaint does not provide any allegations, fact-based or

 7   not, to plausibly infer that the drowsiness effect was so well-known and documented that Amazon

 8   actually knew or reasonably should have known that it was a potential side effect. To the contrary,

 9   the FDA monographs support the opposite conclusion—that is, the lack of data supporting a

10   drowsiness warning for DXM. See 48 Fed. Reg. at 48,589

11          Finally, Plaintiffs fail to plausibly allege actionable damages. The Complaint asserts two

12   theories of injury: (1) Plaintiffs paid a “price premium” for non-drowsy, daytime medicines; and

13   (2) Plaintiffs “would not have purchased” them absent the alleged misrepresentation. See Compl.

14   ¶¶ 37, 41, 56, 67, 93, 103. As to the alleged price premium, Plaintiffs’ theory fails because they

15   do not sufficiently allege any price premium. See Section IV.C.2. As to the second theory,

16   Plaintiffs do not allege, or even suggest, that the medicines are worthless or that they did not obtain

17   a benefit from taking them (i.e., actual suppression of cough or relief of other cold- or flu-like

18   symptoms). As such, Plaintiffs’ allegations do not support claims to the full price of the medicine

19   they purchased. See Salter v. Heiser, 39 Wash. 2d 826, 832 (1951) (holding that damages for

20   misrepresentation claims are typically measured by the benefit of the bargain, “the difference

21   between the value had the misrepresentation been true and the actual value”).

22                                         V.      CONCLUSION

23          For the foregoing reasons, Amazon respectfully requests that the Court: (1) grant Amazon’s

24   Motion to Dismiss; (2) dismiss all claims alleged in Plaintiffs’ Complaint with prejudice and

25   without leave to amend; and (3) grant any such other relief as the Court deems just and necessary.

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 1         DATED July 15, 2022

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 1                                      Certification of Conferral

 2          Pursuant to the Court’s Standing Order for All Civil Cases, Sections II.D. and II.I., the

 3   undersigned counsel for Defendant Amazon.com, Inc. certifies that, via a telephone call on July

 4   7, 2022, counsel for Defendant conferred with counsel for Plaintiffs about the contents of the

 5   foregoing Motion to Dismiss.

 6

 7          DATED July 15, 2022

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     MOTION TO DISMISS PLAINTIFFS’ COMPLAINT - 25
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